Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Primary Providers of Alabama, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Allman Family Medicine, P.C.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1878 Jeff Road #G                                               1861 Shellbrook Drive
                                  Huntsville, AL 35806                                            Huntsville, AL 35806
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Primary Providers of Alabama, Inc.                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8011

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Primary Providers of Alabama, Inc.                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Primary Providers of Alabama, Inc.                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 26, 2018
                                                  MM / DD / YYYY


                             X   /s/ Jason Allman                                                         Jason Allman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X   /s/ Tazewell T. Shepard                                                   Date October 26, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tazewell T. Shepard ASB-4962-S68T
                                 Printed name

                                 Sparkman, Shepard & Morris, P.C.
                                 Firm name

                                 303 Williams Avenue, Suite 1411
                                 Huntsville, AL 35801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 ASB-4962-S68T
                                 Bar number and State




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re       Primary Providers of Alabama, Inc.                                                               Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  2,000.00
             Prior to the filing of this statement I have received                                        $                  2,000.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
                 petition in bankruptcy;
                 b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                 c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
                 hearings thereof;
                 d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                 e. The above-listed disclosed amount is a retainer amount. All legal work, including work in excess of the
                 retainer amount, will be billed hourly and subject to court approval.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 26, 2018                                                            /s/ Tazewell T. Shepard
     Date                                                                        Tazewell T. Shepard ASB-4962-S68T
                                                                                 Signature of Attorney
                                                                                 Sparkman, Shepard & Morris, P.C.
                                                                                 303 Williams Avenue, Suite 1411
                                                                                 Huntsville, AL 35801

                                                                                 Name of law firm




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Bancorp South                        Bancorp South                          Doctors Exchange
401 Franklin Street                  P.O. Box 789                           P.O. Box 1330
Huntsville, AL 35801                 Tupelo, MS 38802                       Madisonville, LA 70447




Bank Independent                     Bancorp South                          Employment Screening Services
P.O. Box 5000                        P. O. Box 789                          Dept. K
Sheffield, AL 35660                  Tupelo, MS 38802                       P.O. Box 830520
                                                                            Birmingham, AL 35283



ServisFirst Bank                     Beckman Coulter, Inc.                  Evoqua Water Technologies LLC
850 Shades Creek Parkway, Ste. 200   Mail Code 42-B06                       26563 Network Place
Birmingham, AL 35209                 P.O. Box 189015                        Chicago, IL 60673
                                     Miami, FL 33196



Alabama Department of Revenue        Beckman Coulter, Inc.                  Finao Solutions
Income Tax Division                  Dept. CH 10164                         2006 Franklin Street
P.O. Box 327460                      Palatine, IL 60044                     Suite 201
Montgomery, AL 36132                                                        Huntsville, AL 35801



AAdvantage Aviator Mastercard        Bio-Rad Laboratories                   Henry Schein
Card Services                        P.O. Box 849740                        Dept CH 14125
P.O. Box 60517                       Los Angeles, CA 90084-9740             Palatine, IL 60055-4125
City of Industry, CA 91716



American Proficiency Institute       Blue Cross and Blue Shield of Alabama Henry Schein
Dept. 9526                           P.O. Box 360387                       Dept CH 10241
P.O. Box 30516                       Birmingham, AL 35236-0387             Palatine, IL 60055-0241
Lansing, MI 48909-8016



Anda, Inc.                           Cintas Corp. #241                      Horiba Medical
P.O. Box 930219                      P.O. Box 630910                        P.O. Box 512936
Atlanta, GA 31193-0219               Cincinnati, OH 45263-0910              Los Angeles, CA 90051-0936




AnswerTel of Athens                  Citi COSTCO                            Huntsville Utilities
216 S. Marion Street                 P.O. Box 9001016                       112 Spragins Street
Suite D                              Louisville, KY 40290-1016              Huntsville, AL 35801
Athens, AL 35611



Audit MicroControls                  Comphealth Associates, Inc.            Jani-King SV Region
P.O. Box 3369                        CHG Healthcare Services, Inc.          P.O. Box 6247
Eatonton, GA 31024                   7259 S. Bingham June Boulevard         Huntsville, AL 35824
                                     Midvale, UT 84047


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Katarina Allman                   Methvin Terrell                      Pitney Bowes
1861 Shellbrook Drive             2201 Arlington Avenue                P.O. Box 371896
Huntsville, AL 35806              Birmingham, AL 35205                 Pittsburgh, PA 15250-7896




Katarina Allman                   Mirion Technologies                  Pitney Bowes
1861 Shellbrook Drive             P.O. Box 101301                      P.O. Box 371896
Huntsville, AL 35806              Pasadena, CA 91189-0005              Pittsburgh, PA 15250-7896




Lioce Group                       Monrovia Investment Group            Radiation Detection Co.
2950 Drake Avenue                 1892 Jeff Road                       3527 Snead Drive
Huntsville, AL 35805              Huntsville, AL 35806                 Georgetown, TX 78626




McKesson Medical Surgical         Moore Medical                        Radiology of Huntsville
P.O. Box 660266                   P.O. Box 99718                       2006 Franklin Street
Dallas, TX 75266-0266             Chicago, IL 60696                    Suite 200
                                                                       Huntsville, AL 35801



MDA Professional Group            Ocaria                               Redstone FCU
P.O. Box 11407                    600 Blvd South SW                    220 Wynn Dr NW
Birmingham, AL 35246-0440         Suite 305                            Huntsville, AL 35893
                                  Huntsville, AL 35802-2113



Medbill                           Ocaria                               Redstone Federal Credit Union
3409 Vestavia Circle              600 Blvd South SW                    220 Wynn Drive
Decatur, AL 35603                 Suite 305                            Huntsville, AL 35893
                                  Huntsville, AL 35802-2113



Medical Systems                   Orkin                                Ricoh USA, Inc.
459 James Road                    1035 Putman Drive NW                 P.O. Box 532530
Hampton Cove, AL 35763            Suite F                              Atlanta, GA 30353-2530
                                  Huntsville, AL 35816



Merck Sharp & Dohma Corp.         Pfizer                               RJYoung
P.O. Box 5254                     P.O. Box 100539                      MSC7511
Carol Stream, IL 60197-5254       Atlanta, GA 30384-0539               P.O. Box 415000
                                                                       Nashville, TN 37241-7511



Merge Healthcare                  Pfizer                               Sanofi Pasteur Inc
P.O. Box 205824                   P.O. Box 100539                      12458 Collections Center Drive
Dallas, TX 75320-5824             Atlanta, GA 30384-0539               Chicago, IL 60693



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Sanofi Pasteur, Inc.                 Stericycle, Inc.
12458 Collections Center Drive       P.O. Box 6582
Chicago, IL 60693                    Carol Stream, IL 60197-6582




Servis Biz Card Services             Stericycle, Inc.
P.O. Box 84070                       P.O. Box 6582
Columbus, GA 31908-4070              Carol Stream, IL 60197-6582




ServisFirst Bank                     The Hartford
850 Shades Creek Parkway, Ste. 200   P.O. Box 660916
Birmingham, AL 35209                 Dallas, TX 75266-0916




ServisFirst Bank                     West Interactive Services Corp
P.O. Box 1508                        700 14th Street
Birmingham, AL 35201                 Denver, CO 80256-0001




Shred-It                             West Madison Professional Plaza
28883 Network Place                  100 Springton Drive
Chicago, IL 60673-1288               Madison, AL 35758




Sirote                               West Madison Professional Plaza LLC
P.O. Box 55509                       100 Springton Drive
Birmingham, AL 35255-5509            Madison, AL 35758




SonoDynamics                         Wilicam, Inc. dba Vanguard Cleaning
4800 Whitesburg Drive                3755 Corporate Woods Drive
Suite 30-185                         Birmingham, AL 35242
Huntsville, AL 35802



Stericycle Stericycle ComSol
26604 Network Place
Chicago, IL 60673




Stericycle, Inc.
P.O. Box 6582
Carol Stream, IL 60197-6582



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